Case 2:17-cv-00656-JES-UAM Document 194 Filed 06/24/19 Page 1 of 2 PageID 10329



                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

 DONIA GOINES,

             Plaintiff,

 v.                                 Case No:    2:17-cv-656-FtM-29UAM

 LEE MEMORIAL HEALTH SYSTEM
 and JEOVANNI HECHAVARRIA,

             Defendants.


                                    ORDER

       This matter comes before the Court on defendant Lee Memorial

 Health System’s Amended Motion for Spoliation Sanctions (Doc.

 #123) filed on December 11, 2018.          Plaintiff filed a Response in

 Opposition (Doc. #132) on December 22, 2018, and a Supplemental

 Memorandum in Opposition (Doc. #192) on June 21, 2019.             For the

 reasons that follow, the motion is denied as moot.

       In February 2019, while its sanctions motion was pending, Lee

 Memorial filed a motion requesting, inter alia, for the Court to

 re-open discovery on an issue related to the sanctions motion.

 (Doc. #160.)     The Court granted the request, reopening discovery

 on the issue through May 17, 2019.          (Doc. #176.)   The Court also

 permitted the parties to have until June 21, 2019 “to file any

 motions they deem necessary related to this issue, or to supplement

 the pending motion for sanctions.”            (Id.)   On June 21st, Lee
Case 2:17-cv-00656-JES-UAM Document 194 Filed 06/24/19 Page 2 of 2 PageID 10330



 Memorial filed its Second Amended Motion for Spoliation Sanctions

 (Doc. #193), thereby mooting its previous motion.

       Accordingly, it is hereby

       ORDERED:

       Defendant’s Amended Motion for Spoliation Sanctions (Doc.

 #123) is DENIED as moot.      Plaintiff shall have fourteen days from

 June 21, 2019 to respond to Lee Memorial’s Second Amended Motion

 for Spoliation Sanctions.

       DONE and ORDERED at Fort Myers, Florida, this             24th    day

 of June, 2019.




 Copies:
 Counsel of Record




                                    - 2 -
